      Case 2:05-cr-02075-EFS    ECF No. 611   filed 08/18/05   PageID.1707 Page 1 of 2




1

2

3

4

5
                                UNITED STATES DISTRICT COURT
6                              EASTERN DISTRICT OF WASHINGTON

7     UNITED STATES OF AMERICA,
                                                NO. CR-05-2075–1-EFS
8                      Plaintiff,
                                                ORDER DENYING DEFENDANT’S
9                 v.                            MOTION FOR REVIEW OF DETENTION
                                                ORDER
10    GILBERTO BAEZ RIVERA (1),
11                     Defendant.
12

13
          A hearing was held in the above-captioned matter on August 17, 2005.
14
     The Defendant was present, represented by Ricardo Hernandez.                 Assistant
15
     United States Attorney Jane Kirk appeared on behalf of the Government.
16
     Before the Court was Defendant Gilberto Baez Rivera’s Motion for Review
17
     of Detention Order, (Ct. Rec. 476). For the reasons given on the record,
18
     the Court finds there is an absence of condition or conditions that could
19
     be imposed that would reasonably assure the appearance of the Defendant
20
     at trial and, further, the evidence is clear and convincing that there
21
     are no conditions that could be imposed which would protect community
22
     safety.     Accordingly, IT IS HEREBY ORDERED:             Defendant     Gilberto Baez
23
     Rivera’s Motion for Review of Detention Order, (Ct. Rec. 476), is DENIED.
24
     The Defendant shall continue to be held in custody pursuant to the
25
     Magistrate Judge’s Order of Detention, (Ct. Rec. 424).
26


     ORDER ~ 1
      Case 2:05-cr-02075-EFS     ECF No. 611    filed 08/18/05   PageID.1708 Page 2 of 2




1          IT IS SO ORDERED. The District Court Executive is directed to enter

2    this Order and provide copies to counsel, the U.S. Probation Office, the

3    U.S. Marshal.

4          DATED this 18th         day of August, 2005.

5

6                                 S/ Edward F. Shea
                                        EDWARD F. SHEA
7                                United States District Judge

8
     Q:\Criminal\2005\2075.1.review.deten.wpd
9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     ORDER ~ 2
